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                                                                       UNITED STATES DISTRICT COURT
                                   2
                                                                      NORTHERN DISTRICT OF CALIFORNIA
                                   3

                                   4    RATA BEY MENIOOH,
                                                                                           Case No. 16-cv-00715-NJV
                                   5                     Plaintiff,
                                   6              v.                                       ORDER
                                   7    STATE OF CALIFORNIA, et al.,
                                   8                     Defendants.
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                                               GOOD CAUSE APPEARING THEREFOR,
                                  11
                                               IT IS ORDERED that this case is reassigned to the Honorable Charles R. Breyer in the
                                  12
Northern District of California
 United States District Court




                                       San Francisco division for all further proceedings. Counsel are instructed that all future filings
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                                       shall bear the initials CRB immediately after the case number.
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                                               All dates presently scheduled are vacated and motions should be renoticed for hearing
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                                       before the judge to whom the case has been reassigned. Briefing schedules, ADR compliance
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                                       deadlines, and other case deadlines remain unchanged. Matters for which a magistrate judge has
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                                       already issued a report and recommendation shall not be rebriefed or noticed for hearing before
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                                       the newly assigned judge; such matters shall proceed in accordance with Fed R. Civ. P. 72(b).
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                                       Dated: 2/24/2016
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                                                                                                    FOR THE EXCUTIVE COMMITTEE
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                                  23                                                                 _____________________________
                                                                                                     Susan Y. Soong
                                  24                                                                 Clerk, United States District Court

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                                  26   A true and correct copy of this order has been served by mail upon any pro se parties.

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                                  28   Copy mailed to party(s).
